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AO 472 (Rev. 6/05) Order of Detention Pending Trial


                                                  United States District Court
                                                      Eastern District of Michigan

United States of America                                         ORDER OF DETENTION PENDING TRIAL
       v.
 Lee Tony Martin                                                 Case Number: 93-50094
                   Defendant

         In accordance with the Bail Reform Act, 18 U.S.C. §3142(f), a detention hearing has been held. I conclude that the following
facts require the detention of the defendant pending trial in this case.

                                                      Part I – Findings of Fact
        Defendant before court on charges of violation of supervised release. Failed to appear before district court in April 2002,
picked up new criminal offenses–drug and resisting arrest-- in May, 2002 for which his state parole was violated. Used alias name
Campbell (or perhaps that is his true name and Martin is an alias). Paroled from state custody to this detainer end of June, 2005.

                                           Part II – Written Statement of Reasons for Detention
           I find that the credible testimony and information submitted at the hearing established the following factors under 18 U.S.C. §
3142(g):
                     “ (a) nature of the offense–violation supervised release
                     “ (b) weight of the evidence–strong, including fta and new charges.
                     “ (c) history and characteristics of the defendant -history of drug use
                              “ 1) physical and mental condition
                              “ 2) employment, financial, family ties
                              “ 3) criminal history and record of appearance-fta before district court April, 2002
                     “ (d) probation, parole or bond at time of the alleged offense–on supervised release

          Defendant on supervised release and failed to appear in April, 2002 before Judge Edmunds. In May, 2002, defendant
incurred new state drug charges and resisting arrest, for which he was eventually incarcerated, his parole violated, and he remained in
custody until paroled to this detainer June 30, 2005. Defendant has history of drug use, violated his supervised release by new criminal
conduct, and failed to appear before district court in April, 2002. Court finds no error by government in failure to exercise detainer at
an earlier stage as defendant was incarcerated/arrested under a different name. Unclear if defendant’s true last name is Campbell or
Martin. Bond DENIED.




                                                Part III – Directions Regarding Detention
         The defendant is committed to the custody of the Attorney General or his designated representative for confinement in a
corrections facility separate, to the extent practicable, from persons awaiting or serving sentences or being held in custody pending
appeal. The defendant shall be afforded a reasonable opportunity for private consultation with defense counsel. On order of a court of
the United States or on request of an attorney for the Government, the person in charge of the corrections facility shall deliver the
defendant to the United States Marshal for the purpose of an appearance in connection with a court proceeding.

            July 14, 2005                                        s/Virginia M. Morgan
                 Date                                                             Signature of Judge
                                                                 Virginia M. Morgan, United States Magistrate Judge
                                                                               Name and Title of Judge
